 Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.1 Page 1 of 38




 James E. Magleby (7247)                            Christopher A. Seeger (pro hac
  magleby@mcg.law                                   vice forthcoming)
 Yevgen Kovalov (16297)                              cseeger@seegerweiss.com
   kovalov@mcg.law                                  SEEGER WEISS LLP
 MAGLEBY CATAXINOS &                                55 Challenger Road, 6th Floor
 GREENWOOD, PC                                      Ridgefield Park, New Jersey
 141 W. Pierpont Avenue                             07660
 Salt Lake City, Utah 84101-3605                    Telephone: 973.639.9100
 Telephone: 801.359.9000
                                                    Scott A. George (pro hac vice
 Scott A. Kitner (pro hac vice                      forthcoming)
 forthcoming)                                         sgeorge@seegerweiss.com
   scott@kitnerwoodward.com                         Frazar W. Thomas (pro hac
 Martin D. Woodward (pro hac vice                   vice forthcoming)
 forthcoming)                                         fthomas@seegerweiss.com
   martin@kitnerwoodward.com                        SEEGER WEISS LLP
 KITNER WOODWARD PLLC                               325 Chestnut Street, Suite 917
 13101 Preston Road, Suite 110                      Philadelphia, Pennsylvania
 Dallas, Texas 75240                                19106
 Telephone: 214.443.4300                            Telephone: 215.564.2300


Attorneys for Plaintiffs and the Class

                      IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, CENTRAL DIVISION

 DANIEL CHAPPELL, MASEN                     PROPOSED CLASS ACTION
 CHRISTENSEN, AND JOHN OAKS,                COMPLAINT
 individually and on behalf of all others
 similarly situated,                        JURY DEMANDED

        Plaintiffs,

 v.

 CORPORATION OF THE PRESIDENT
 OF THE CHURCH OF JESUS CHRIST
 OF LATTER-DAY SAINTS AND
 ENSIGN PEAK ADVISORS, INC.                 Case No.: 2:23-cv-794

        Defendants.                         Honorable
 Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.2 Page 2 of 38




       Plaintiffs Daniel Chappell, Masen Christensen, and John Oaks bring this action

for themselves and all others similarly situated against Defendant Corporation of the

President of the Church of Jesus Christ of Latter-day Saints (“COP”) and Ensign Peak

Advisors, Inc. (“Ensign”) (collectively “Defendants”). Upon personal knowledge of the

facts pertaining to Plaintiffs and on information and belief as to all other matters, and

upon the investigation conducted by Plaintiffs’ counsel, Plaintiffs allege as follows:

                                 Preliminary Statement

       1.     For decades, COP has used false pretenses to obtain donations. Rather

than use these funds entrusted to it for charitable work, COP secreted donations away

in Ensign in order to avoid public scrutiny and accountability to the donors, and instead

used them for purposes never contemplated by donors and contrary to representations

by COP.

       2.     A primary source of donated funds obtained by COP are tithes, which are

traditionally 10% of any income or profits earned each year by members for the

“missions” of COP. In addition to the regular tithes, COP also solicits independent

donations from members and nonmembers alike to fund specific charitable work.

       3.     For instance, COP maintains various philanthropies, including

“Humanitarian Relief,” which provides “immediate emergency assistance to victims” of

disasters. On its website, COP solicits donations to the Humanitarian Relief fund by




                                             2
    Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.3 Page 3 of 38




stating that “One hundred percent of every dollar donated is used to help those in need

without regard to race, religion, or ethnic origin.”1




        4.      Despite these representations to donors, Plaintiffs understand based on

public reports from third parties that COP deliberately hid that some, if not all, of these

donations (including both tithes and donations made to a COP philanthropy) are

permanently invested in accounts it never uses for any charitable work, so that every

year, an enormous portion of the donations are never spent for these—or any—

purposes.

        5.      COP went to extreme lengths to conceal from the public and its members

the actual disposition of donations. It created a special non-profit entity, Ensign, to hold

and invest the donations. COP had Ensign egregiously understate the value of its

holdings in public filings with the Internal Revenue Service and the Securities and

Exchange Commission. This allowed COP to ensure the nature and extent of its assets

remained hidden.




1
  See https://philanthropies.churchofjesuschrist.org/humanitarian-services/funds/humanitarian-general-
fund/; https://philanthropies.churchofjesuschrist.org/humanitarian-services/funds/emergency-response/

                                                   3
    Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.4 Page 4 of 38




          6.      In December 2019, a whistleblower with exclusive knowledge of the

finances of Defendants divulged that over the past two decades, COP has funneled

billions of dollars of donations into covert permanent investments through Ensign.

          7.      In response, COP continued its efforts to conceal its practices, including

issuing a statement that it “complies with all applicable law governing our donations,

investments, taxes and reserves.”2

          8.      In February 2023, the Security and Exchange Commission (“SEC”)

brought charges against Ensign and COP related to their evasion of public reporting

requirements through the use of shell corporations “to avoid negative consequences in

light of the size of The Church’s portfolio.”3 As part of a negotiated settlement with the

SEC, COP and Ensign agreed to pay a total of $5 million in civil penalties to settle the

charges.

          9.      Because Defendants engaged in a scheme to solicit funds from donors for

specific purposes, but actually used those funds for different purposes, and hid their

actual use of funds from donors, Plaintiffs are entitled to money damages and injunctive

relief under Utah law.

          10.     Plaintiffs, on behalf of a Class of other people who made donations to

COP and its charitable arms, now ask the Court to determine that COP has breached

the fiduciary and other duties it owed donors in its solicitation, collection, use, and



2
    https://newsroom.churchofjesuschrist.org/article/first-presidency-statement-church-finances
3
 See Order Instituting Cease-And-Desist Proceedings Pursuant to Section 21C of the Securities and
Exchange Act of 1934, Making Findings, and Imposing a Cease-And-Desist Order.
https://www.sec.gov/files/litigation/admin/2023/34-96951.pdf

                                                      4
 Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.5 Page 5 of 38




disposition of these charitable donations. Defendants continued to misrepresent their

use of funds, including concealing their illegal scheme to hide their assets using shell

companies, even after the whistleblower first came forward in 2019.

                                 Jurisdiction and Venue

        11.    This Court has jurisdiction pursuant to 28 U.S.C. § 1332(d) because the

Class consists of more than 100 members, the amount in controversy exceeds the sum

or value of five million dollars exclusive of recoverable interest and costs, and minimal

diversity exists.

        12.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 because

Defendants are residents of this District, are incorporated in this District, and maintain

principal places of business in this district, and because a substantial part of the events

and omissions giving rise to the claims of Plaintiffs and the Class occurred in this

District.

                                          Parties

        13.    Defendant COP is a Utah corporation with its principal place of business

at 50 East North Temple, Salt Lake City, Utah 84150. It may be served with process

through its registered agent, Corporate Agent Services, LLC, at 36 S. State Street, Suite

1900, Salt Lake City, Utah 84111. The COP is the legal entity behind the Church of

Jesus Christ of Latter-day Saints (the “Church”).

        14.    COP is the apex organization among the various entities that together

operate non-religious businesses and investments on behalf of the Church. COP is the

owner, operator, and overseer of a significant number of for-profit and non-profit


                                             5
    Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.6 Page 6 of 38




entities, including dozens of office and apartment buildings, four universities, and three

media companies.4 The Church has nearly seven million members in the United States.

        15.     COP (including its employees, subsidiaries, affiliates, volunteers, and

agents) promoted, advertised, provided instructions for, administered, oversaw, and

collected donor funds from donors throughout Utah and the United States.5

        16.     Defendant Ensign Peak Advisors, Inc. (“Ensign” or “Ensign Peak

Advisors”) is registered as a Utah nonprofit corporation with its principal place of

business at 60 East South Temple St., Suite 400, Salt Lake City, Utah 84111. It may be

served with process through its registered agent, Corporate Agent Services, LLC, at 36

S. State Street, Suite 1900, Salt Lake City, Utah 84111.

        17.     Ensign is governed by a board of trustees that is made up of members of

COP’s presiding bishops, and a managing director appointed by the President of COP.

The managing director of Ensign reports to senior leadership of COP.

        18.     Ensign is the entity responsible for managing the donations at issue in this

case.

        19.     Plaintiff Daniel Chappell is a resident of Virginia.

        20.     Between January 1, 2013 and today, Mr. Chappell donated approximately

$108,000 to COP.

        21.     Plaintiff Masen Christensen is a resident of Utah.


4
  Lars Nielsen, “Letter to an IRS Director,” https://www.scribd.com/document/439385879/Letter-to-an-IRS-
Director, at 5 & nn. 5-9. For ease of reference, this document will be referred to as “Whistleblower
report,” even though its author is not the actual whistleblower.
5
  All allegations regarding COP’s conduct include the conduct of COP’s employees, subsidiaries,
affiliates, volunteers, and agents.

                                                   6
 Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.7 Page 7 of 38




       22.     Between January 1, 2013 and today, Mr. Christensen directly donated

approximately $120,000 to COP.

       23.     In addition, Mr. Christensen has donated approximately $46,000.00

through donor advised funds.

       24.     Mr. Christensen is an active member of the Church who made his most

recent annual donation to COP on November 11, 2022 and plans to continue making

annual donations for the foreseeable future with the understanding the equitable and

injunctive relief sought in this litigation is realized.

       25.     Plaintiff John Oaks is a resident of Utah.

       26.     Between January 1, 2013 and today, Mr. Oaks donated approximately

$74,000 to COP.

       27.     Plaintiffs reserve the right to amend this Complaint to name additional

party defendants revealed by discovery or further investigation to have been involved

with the solicitation, collection, and clandestine investment of donations.

                    Any Applicable Statues of Limitations are Tolled

       28.     Plaintiffs and Class members did not discover and could not discover

through the exercise of reasonable diligence that Defendants had been engaged in a

scheme to defraud Plaintiffs and other donors by soliciting charitable donations using

false and misleading representations, actually directing donor funds towards Ensign’s

investment portfolio, and engaging in a series of sham transactions and securities law

violations in order to obscure the true use of the funds from donors and regulatory

authorities.


                                                 7
 Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.8 Page 8 of 38




       29.    Any applicable statutes of limitation have been tolled by the Defendants’

knowing, active, and ongoing fraudulent concealment of the facts alleged herein.

Defendants knew (or should have known) that while they were soliciting, collecting, and

receiving donations that a significant amount would be invested instead of being used

for charitable purposes as COP represented to members and the public at large.

Defendants suppressed this information and affirmatively misrepresented to Plaintiffs

and Class members that they were obeying all applicable laws and that donor funds

were not being misdirected from the purpose for which they were solicited. Thus,

Defendants actively concealed from, and failed to notify, Plaintiffs, Class members, and

the public of the critical material fact that a significant portion of donations made to COP

are not applied to the purpose for which they were solicited.

       30.    Defendants were under a continuous fiduciary duty to disclose to Plaintiffs

and Class members the true character and nature of the disposition of all donated funds

collected, including the critical material facts that a significant portion of donated monies

are not used for any religious or charitable purpose, but rather are diverted to non-

charitable investments. Plaintiffs and Class members reasonably relied on Defendants’

affirmative representations regarding their use of donated funds, and their concealment

of the truth about how the funds are used, which rendered their statements misleading.

       31.    Plaintiffs relied upon and trusted Defendants’ representations, and (to the

extent relevant) exercised reasonable diligence but were prevented from uncovering the

full extent of Defendants’ scheme as a result of Defendants’ own omissions and direct

misrepresentations regarding the underlying facts.


                                              8
    Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.9 Page 9 of 38




          32.     Under these circumstances, the hardship that enforcing any limitations

period would impose on the Plaintiffs would outweigh any prejudice to Defendants from

difficulties of proof caused by the passage of time.

          33.     As a result, enforcing the limitations period here would be irrational and

unjust.

          34.     Based on the foregoing, Defendants are estopped and otherwise unable

to rely upon on any statutes of limitation or other limitations on the timeliness of the

claims asserted in defense of this action.



                                          Factual Allegations

          A.      Forms of Donation

          35.     COP asks members to tithe. Members are expected to tithe ten percent

(10%) of their income and profits.

          36.     COP has publicly, continually, and repeatedly declared in no uncertain

terms that tithing funds are “always used” for charitable purposes.

          37.     Church members can make tithing donations online through a dedicated

website operated by or on behalf of COP.6 COP also uses “tithing slips” in its

solicitation, collection, and recordkeeping. The following are examples of two such slips




6
    See, e.g., https://www.churchofjesuschrist.org/help/support/finance/online-donations?lang=eng

                                                     9
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.10 Page 10 of 38




used in recent years; the older version is shown on the left, and a revised version COP

introduced in 2012 is on the right:7




7
  https://mormonisminvestigated.files.wordpress.com/2013/06/tithing-slip3.jpg (image on left);
https://store.churchofjesuschrist.org/usa/en/tithing-and-other-offerings-form/5639243870.p (image on
right).

                                                   10
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.11 Page 11 of 38




           38.     Referring to its tithing slips, COP explains, “Donors use this form to

itemize their offerings when submitting to a bishopric or priesthood member.”8

           39.     Outside of the tithe, COP also directly solicits donations for its charitable

arms from the public at large.

           40.     The Church of Jesus Christ of Latter-day Saints – Philanthropies

(“Philanthropies”), operates as the charitable arm of COP. As the associated website

describes, “Philanthropies is the department of COP of Jesus Christ of Latter-day Saints

responsible for facilitating philanthropic donations (not tithing or fast offerings) to COP

and its affiliated charities.”9 The organization has existed in some form since 1955. In

2018, its name was changed to “The Church of Jesus Christ of Latter-day Saints –

Philanthropies.” COP states that donations will be used entirely to help the needy:

           100 percent of all donations go to help those in need. No administrative costs
           are deducted by Philanthropies or our affiliated charities.10

           41.     Philanthropies oversees the administration of donations to various

charitable projects, including several Church-affiliated universities and Latter-day Saint

Charities, a non-profit corporation also headquartered in Salt Lake City, Utah.

Donations solicited by COP, however, are not restricted to the entity for which they were

solicited, but are disbursed across a baroque web of subsidiary organizations and

holding companies, many of which serve no charitable purpose at all.




8
    https://store.churchofjesuschrist.org/usa/en/tithing-and-other-offerings-form/5639243870.p
9
    https://philanthropies.churchofjesuschrist.org/philanthropies/about/
10
     https://philanthropies.churchofjesuschrist.org/philanthropies/about/ (bold in original).

                                                        11
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.12 Page 12 of 38




          42.      In the portions of its website soliciting donations, COP represents that

money donated to humanitarian relief will be spent — “is used”— solely on charitable

activities. The “Humanitarian Aid” portion of its website describes how “100% of every

dollar donated is used to help those in need—without regard to race, religion, or ethnic

origin.” This same page contains multiple links to “Make a Gift to Humanitarian” by

donating money:11




11
     https://philanthropies.churchofjesuschrist.org/humanitarian-services

                                                      12
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.13 Page 13 of 38




          43.     A separate page for Philanthropies soliciting donations likewise solicits

donations to Humanitarian Aid with the promise that “one hundred percent of every

dollar donated is used to help those in need without regard to race, religion, or ethnic

origin.” Immediately below this promise is another link inviting the reader to “Make a Gift

to Humanitarian Aid.”12




          44.     Clicking through this link delivers the reader to a giving page of COP. The

top of the giving page, which invites the reader to enter the amount of their donation,

again suggests that the purpose of the donation is “[t]o relieve suffering, foster self-



12
     https://philanthropies.churchofjesuschrist.org/humanitarian-services/funds/humanitarian-general-fund/



                                                     13
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.14 Page 14 of 38




reliance and provide opportunities for service. Relief is provided to people around the

globe without regard to race, religious affiliation, or nationality.”13




13
  https://donate.churchofjesuschrist.org/donations/church/humanitarian-services/humanitarian-aid-
fund.html?cde2=475-Humanitarian-home&cid=Humanitarian-home-donate-button&



                                                  14
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.15 Page 15 of 38




          45.      COP also solicits donations for its Missionary Fund. In its solicitation

page, COP describes the purpose of these donations as to “provide needed funding so

that all who want to serve a full-time mission may do so.”14




          46.      When the reader clicks through the “make a gift” link, they are taken to a

payment page. At the top of the page, near the field for entering the donation amount,

the page reads “Funds allow thousands of young men and young women from around

the globe to have the opportunity to serve a full-time mission for the Church of Jesus




14
     https://philanthropies.churchofjesuschrist.org/missionary

                                                      15
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.16 Page 16 of 38




Christ of Latter-Day Saints who otherwise would not have the financial ability to do

so.”15




15
  https://donate.churchofjesuschrist.org/donations/church/missionary-fund.html?cde2=807-Missionary-
home&cid=Missionary-home-donate-button&

                                                 16
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.17 Page 17 of 38




           47.     Recently, COP made some changes to its public solicitation, but without

any apparent change to the disposition of the collected funds and without providing any

more transparency: 16




           48.     These representations are consistent with how COP has represented its

work, the work of its Philanthropies, and the use to which it would put donated funds for

decades.

           49.     In a 2005 article in The Church News, an official publication of The

Church, COP representatives described why the organization was changing its name

from the “LDS Foundation” to “LDS Philanthropies.”



16
     https://philanthropies.churchofjesuschrist.org/church-history

                                                       17
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.18 Page 18 of 38




           50.     In the article, representatives from COP explained that donors’ “gifts are

sacred and they are treated as such.”17

           51.     The article goes on to paraphrase a statement by Richard C. Edgley, the

first counselor in the Presiding Bishopric in 2005: “One hundred percent of everything

that is contributed through LDS Philanthropies goes to the specific purpose it was

contributed for. ‘There is zero overhead’ taken out of the donation for administrative

costs.”18

           52.     As a result, the article continues, “Donations are often accepted from

those not of our faith — mostly for The Church’s humanitarian efforts.” Edgley attributes

this to the fact that “The Church has a reputation of using the funds appropriately and

wisely and for purposes that general populations feel good about.”

           53.     Despite COP’s representations to the contrary, a substantial and

significant amount of the funds it received are not used for humanitarian aid or any other

philanthropic or mission-related purpose. Instead, they are distributed to COP, to

Philanthropies, or to the Corporation of the Presiding Bishop. Once donated, donor

funds are shifted throughout various church organizations, including between these

three entities, to Ensign, and to Ensign’s comingled funds:19




17
     https://www.thechurchnews.com/2005/9/17/23236006/lds-philanthropies-depicts-organization
18
     Id.
19
     Whistleblower report at Exh. H.2.

                                                   18
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.19 Page 19 of 38




          54.      Once funds are transferred to Ensign, they are continually reinvested and

never used to fund any Church organizations or efforts.

          B.       The History of Ensign Peak Advisors

          55.      In 1997, COP created a non-profit entity called Ensign Peak Advisors, Inc.

Ensign’s articles of incorporation specify that it “is organized and shall be operated

exclusively for religious, educational and charitable purposes, within the meaning of

Section 510(c)(3) of the Internal Revenue Code, to benefit, perform the functions of, or

carry out the purposes of” COP.20 They further specify that its “property is irrevocably


20
     Whistleblower report at Exh. E.

                                                19
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.20 Page 20 of 38




dedicated to religious, educational and charitable purposes meeting the requirements

for exemption provided by Section 501(c)(3) of the Internal Revenue Code.”21

           56.     But—in coordination with COP, and contrary to its only reason for

existing—Ensign has never fulfilled its purported mission for COP nor functioned as a

charitable entity.22 Instead, for more than two decades, it has done only one thing: it has

invested donations collected by COP, without ever disbursing these funds towards any

charitable purpose.23

           57.     In fact, Ensign has never made a single expenditure for any religious,

educational, or charitable objective—and it has no plans to ever spend any of the

money it has gathered, instead acting as a massive hedge fund from which no

withdrawals are allowed. As the Whistleblower report describes it, Ensign “is the reserve

of the reserves” of COP; COP “does not draw down on it, and it has no mission—no

liability stream, no schedule of activities, no plans for use, and no efforts to even model

the future.”24

           58.     COP deliberately keeps its use of Ensign shrouded in secrecy. “The

$100+ billion corporation has remarkably few employees (20 people in 2010, and 75

people in 2019); it doesn’t even have a sign on the building or in the lobby

downstairs.”25 Ensign employees are siloed from each other, separated by portfolio



21
     Whistleblower report at Exh. E.
22
     See generally Whistleblower report; see also id. at 6.
23
     See generally Whistleblower report; see also id. at 6.
24
     Whistleblower report at 6.
25
     Whistleblower report at 21 & n.oo.

                                                       20
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.21 Page 21 of 38




team; only four employees (the President, Chief Investment Officer, Chief Financial

Officer, and Senior Accountant) are permitted to see Ensign’s actual financial

statements.26

           59.     But COP is taking advantage of Ensign’s non-profit status to receive

billions of dollars in tax breaks on the interest its investments generate, even though

Ensign demonstrably does nothing charitable, religious, or educational.27

           C.      COP Repeatedly Misrepresents what it Does with the Donations that
                   End Up in Ensign

           60.     By December of 2019, Ensign had accumulated more than $120 billion

from donations to COP or returns on investments of those donations.28 As the

Whistleblower report states: “[Ensign] made 0 distributions in the first 12 years of its

existence. It has made 0 distributions in the past five years. It did have two outflows in

22 years. Neither was planned, and neither went to the furtherance of Ensign’s exempt

purpose nor that of its parent[, COP].”29

           61.     In 2009, Ensign spent $600 million to bail out a failing for-profit life

insurance company owned by COP.30 And between 2010 and 2014, Ensign made a

series of payments—again using donated dollars exclusively—for the construction of

the City Creek Mall in Salt Lake City, totaling $1.4 billion.31



26
     Whistleblower report at 15 & n.cc.
27
     Whistleblower report at 8.
28
     Whistleblower report at 4-8 & Exh. A.
29
     Whistleblower report at 6.
30
     Whistleblower report at 7 & n.f.
31
     Whistleblower report at 7 & n.h.

                                                  21
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.22 Page 22 of 38




          62.      In the lead-up to the construction of the mall, an article in the December

2006 issue of the COP-owned Ensign magazine stated that no tithing funds would be

used for mall construction.32

          63.      An October 5, 2012 article in the Salt Lake Tribune, described Keith

McMullin, a high-ranking Church official who was then leading another COP-affiliated

company, Deseret Management Corp., as stating that “not one penny of tithing goes to

the church’s for-profit endeavors,” and also reported that “[s]pecifically, the Church has

said no tithing went toward City Creek Center.”33 But by this time, COP had already

made payments from tithing dollars toward building the mall.34

          64.      COP and Ensign have, in coordination, made additional misleading

statements in sworn financial reports to the IRS. As a non-profit, Ensign is required only

to file an abbreviated financial disclosure using a Form 990 (“990”). On Ensign’s 990 for

2007, its President signed under penalty of perjury that the “Book value of all assets at

end of year” was “1,000,000” dollars:35




32
  Whistleblower report at 7-8 & n.h. See also Church Releases Plans for Downtown Salt Lake, Ensign
Magazine, Dec. 2006, available at https://www.churchofjesuschrist.org/study/ensign/2006/12/news-of-the-
church/church-releases-plans-for-downtown-salt-lake?lang=eng (“No tithing funds will be used in the
redevelopment”).
33
  Whistleblower report at 7-8 & n.h., see also The Money Behind the Mormon Message, Salt Lake
Tribune, Oct. 05, 2012, available at https://archive.sltrib.com/article.php?id=54478720&itype=cmsid
(“McMullin said not one penny of tithing goes to the church's for-profit endeavors. Specifically, the church
has said no tithing went toward City Creek Center.”)
34
     Whistleblower report at 8 & n.h.
35
  Screenshot of “Full video exposé” of “Letter to an IRS Director,” https://youtu.be/KDlFZF3RyhE, at
41:00.

                                                    22
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.23 Page 23 of 38




          65.     In actuality, the book value of Ensign’s assets at the time was

approximately $38,000,000,000—meaning the declaration made under penalty of

perjury reported a figure that was 38,000 times too small.36

          66.     On Ensign’s 990 for 2010, its President signed under penalty of perjury

that the “Book value of all assets at end of year” was “over 1,000,000” dollars:37




36
     See Whistleblower report at Exh. K.
37
  Screenshot of “Full video exposé” of “Letter to an IRS Director,” https://youtu.be/KDlFZF3RyhE, at
41:00.

                                                   23
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.24 Page 24 of 38




          67.     In actuality, the book value of Ensign’s assets at the time was

approximately $40,000,000,000—meaning the declaration made under penalty of

perjury reported a figure that was 40,000 times too small (unless the handwritten word

“over” was meant to convey to the reader “multiply this number by 40,000 if you would

like to know the actual ‘Book value of all assets at end of year’ to which I am swearing

under penalty of perjury.”).38

          68.     Thus, COP not only failed to disclose its large-scale hoarding of donated

funds; it also, through and in coordination with Ensign, hid as much information as

possible about the purported charitable non-profit whose investing has yielded more




38
     See Whistleblower report at Exh. K.

                                                24
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.25 Page 25 of 38




capital than some nations—even by making misrepresentations to the IRS to keep the

trove a secret.

          69.     As part of this effort to conceal the extent of its holdings from regulators

and the public, Ensign and COP participated in a scheme to hide the extent of its assets

from the public because the “Church was concerned that disclosures of assets in the

name of Ensign Peak, a known Church affiliate, would lead to negative consequences

in light of the size of the Church’s portfolio.”39

          70.     Section 13(f) of the Exchange Act requires institutional investors that

control at least $100 million in securities, like Ensign, to publicly file quarterly public

disclosures with the SEC listing the full market value of the securities that it manages.

          71.     To evade these reporting requirements, COP and Ensign (both based in

Utah), launched an increasing number of out-of-state shell corporations with Church

employees serving on each as purported “business managers.” By the time the SEC

intervened, COP and Ensign had established 13 shell corporations to hide COP’s

increasing assets. The full description of COP’s illegal scheme to hide its assets from

scrutiny by, among others, those who entrusted funds to COP for its mission and

charitable work, is set forth in the SEC’s Order Instituting Cease-And-Desist

Proceedings Pursuant to Section 21C of the Securities and Exchange Act of 1934,

Making Findings, and Imposing a Cease-And-Desist Order.40



39
   See Order Instituting Cease-And-Desist Proceedings Pursuant to Section 21C of the Securities and
Exchange Act of 1934, Making Findings, and Imposing a Cease-And-Desist Order at ¶ 8.
https://www.sec.gov/files/litigation/admin/2023/34-96951.pdf
40
     See https://www.sec.gov/files/litigation/admin/2023/34-96951.pdf

                                                     25
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.26 Page 26 of 38




         72.   Indisputably, by incurring millions in civil fines paid by COP and Ensign for

their orchestrated and illegal deception, the COP and Ensign wasted these funds and

diverted them away from any potential use for the purported charitable mission of COP

and Ensign.

         D.    Plaintiffs donated money to COP because of COP’s solicitations and
               were unaware of the Ensign investments and deceptions.

         73.   Plaintiff Chappell donated approximately $108,000 to the COP over the

last ten years.

         74.   Based on COP’s representations, Plaintiff Chappell reasonably believed

that his donations would be used only for charitable purposes. Because of Defendants’

ongoing efforts to conceal from the public the nature and extent of the donations held by

Ensign, Plaintiff could not appreciate the true manner in which the COP actually

intended to (and did) use his donations.

         75.   Plaintiff Christensen donated approximately $166,000 to the COP over the

last ten years.

         76.   Based on COP’s representations, Plaintiff Christensen reasonably

believed that his donations would be used only for charitable purposes. Because of

Defendants’ ongoing efforts to conceal from the public the nature and extent of the

donations held by Ensign, Plaintiff could not appreciate the true manner in which the

COP actually intended to (and did) use his donations.

         77.   Plaintiff Oaks donated approximately $74,000 to the COP over the last ten

years.



                                             26
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.27 Page 27 of 38




       78.    Based on COP’s representations, Plaintiff Oaks reasonably believed that

his donations would be used only for charitable purposes. Because of Defendants’

ongoing efforts to conceal from the public the nature and extent of the donations held by

Ensign, Plaintiff could not appreciate the true manner in which the COP actually

intended to (and did) use his donations.

       79.    Plaintiffs did not believe and had no reason to ever suspect that COP

would take any portion of their donations and invest it into Ensign, where it would sit and

accumulate interest in perpetuity and otherwise be used in manners antithetical to the

purported mission of COP and Ensign. And even if Plaintiffs had any suspicions that

COP was engaging in any such practice, they never could have discovered it.

       80.    Plaintiffs reasonably relied on COP’s public statements, including that the

“vast majority” of donated funds were “used immediately” and that COP complied with

“all applicable laws.”

                                    Class Allegations

       81.    Plaintiffs seek to represent the following Class:

              All persons in the United States who donated money to Defendants from
              January 1, 1998 through the date the Class is certified. Excluded from the
              Class are all persons who make a timely election to be excluded,
              governmental entities, and the Judge to whom this case is assigned and
              his/her immediate family.

       82.    Plaintiffs reserve the right to revise the Class definition based upon

information learned through discovery.

       83.    Certification of Plaintiffs’ claims for class-wide treatment is appropriate

because Plaintiffs can prove the elements of their claims on a class-wide basis using


                                             27
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.28 Page 28 of 38




the same evidence as would be used to prove those elements in individual actions

alleging the same claim.

      84.    Certification of Plaintiffs’ claims is particularly appropriate as Utah law will

apply to the claims of all Class members as the claims are asserted in this Court sitting

in Utah. In addition, Defendants are based in Utah and all representations, omissions,

concealments and decisions that provide the basis for the claims asserted in this

litigation were conceived of, made, orchestrated and realized in Utah, which has the

most significant relationship to the challenged conduct and the parties.

      85.    This action has been brought and may be properly maintained on behalf of

the Class proposed herein under Federal Rule of Civil Procedure 23.

      A.     Numerosity and Nature of the Notice

      86.    Pursuant to Federal Rule of Civil Procedure 23(a)(1), the members of the

Class are so numerous and geographically dispersed that individual joinder of all Class

members is impracticable. While Plaintiffs are informed and believe that there are

millions of members of the Class, the precise number is unknown. Class members may

be notified of the pendency of this action by recognized, Court-approved notice

dissemination methods, which may include U.S. mail, electronic mail, internet postings,

and/or published notice.

      B.     Commonality and Predominance

      87.    Pursuant to Federal Rules of Civil Procedure 23(a)(2) and 23(b)(3), this

action involves common questions of law and fact, which predominate over any

questions affecting individual Class members, including, without limitation:


                                            28
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.29 Page 29 of 38




              a.     Whether Defendants engaged in the conduct alleged herein,
                     including misrepresentation of the use to which funds it solicited
                     would be used and the actual use to which it put such funds;

              b.     Whether the conduct of Defendants violates the law as asserted
                     herein, including breaches of its duties to Plaintiffs and other Class
                     members as donors;

              c.     Whether Plaintiffs and the other Class members are entitled to
                     equitable relief, including, but not limited to, restitution or injunctive
                     relief; and

              d.     Whether Plaintiffs and the other Class members are entitled to
                     damages and other monetary relief and, if so, in what amount.

       C.     Typicality

       88.    Pursuant to Federal Rule of Civil Procedure 23(a)(3), Plaintiffs’ claims are

typical of the other Class members’ claims because, among other things, all Class

members were comparably injured through the wrongful conduct of Defendants as

described above.

       D.     Adequacy

       89.    Pursuant to Federal Rule of Civil Procedure 23(a)(4), Plaintiffs are

adequate Class representatives because their interests do not conflict with the interests

of the other members of the Class they seek to represent; Plaintiffs have retained

counsel competent and experienced in complex class action litigation; and Plaintiffs

intend to prosecute this action vigorously. The interests of the Class will be fairly and

adequately protected by Plaintiffs and their counsel.

       E.     Declaratory and Injunctive Relief

       90.    Pursuant to Federal Rule of Civil Procedure 23(b)(2), Defendants have

acted or refused to act on grounds generally applicable to Plaintiffs and the other


                                              29
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.30 Page 30 of 38




members of the Class, thereby making appropriate final injunctive relief and declaratory

relief, as described below, with respect to the Class as a whole.

       F.      Superiority

       91.     Pursuant to Federal Rule of Civil Procedure 23(b)(3), a class action is

superior to any other available means for the fair and efficient adjudication of this

controversy, and no unusual difficulties are likely to be encountered in the management

of this class action. The damages or other financial detriment suffered by Plaintiffs and

the other Class members are relatively small compared to the burden and expense that

would be required to individually litigate their claims against Defendants, so it would be

impracticable for Class members to individually seek redress for Defendants’ wrongful

conduct. Even if Class members could afford individual litigation, the court system could

not. Individualized litigation creates a potential for inconsistent or contradictory

judgments and increases the delay and expense to all parties and the court system. By

contrast, the class action device presents far fewer management difficulties, and

provides the benefits of single adjudication, economy of scale, and comprehensive

supervision by a single court.

                                   CAUSES OF ACTION

                                 FIRST CAUSE OF ACTION
                                 Breach of Fiduciary Duty

       92.     Plaintiffs reallege and incorporate by reference all paragraphs as though

fully set forth herein.

       93.     The Utah Charitable Solicitations Act states: “Every person soliciting,

collecting, or expending contributions for charitable purposes, and every officer,

                                              30
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.31 Page 31 of 38




director, trustee, or employee of any person concerned with the solicitation, collection,

or expenditure of those contributions, shall be considered to be a fiduciary and acting in

a fiduciary capacity.” Utah Code § 13-22-23.

       94.    The Act defines “charitable purpose” as “any benevolent, educational,

philanthropic, humane, patriotic, religious, eleemosynary, social welfare or advocacy,

public health, environmental, conservation, civic, or other charitable objective”. Utah

Code § 13-22-2(3).

       95.    As described in detail in the factual allegations above, COP, including its

employees, subsidiaries, affiliates, volunteers, and agents, promoted, advertised,

provided instructions for, administered, oversaw, and collected tithing funds from donors

throughout Utah and the United States.

       96.    At all relevant times, COP was a fiduciary or acting in a fiduciary capacity

in connection with its promotion, solicitation, expenditure, and handling of all charitable

contributions by Class members. It accordingly owed the members of the Class all

applicable fiduciary duties, including the duty to fully disclose to them all material facts

and information in connection with its disposition of the donations.

       97.    At all relevant times, Ensign was a fiduciary or acting in a fiduciary

capacity in connection with its promotion, solicitation, expenditure, and handling of all

charitable contributions by Class members. Among other things, it acted as a fiduciary

in its capacity as the entity that held such funds, would make expenditure of donated

funds, and purportedly used such funds for charitable purposes. It accordingly owed

the members of the Class all applicable fiduciary duties, including the duty to fully


                                             31
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.32 Page 32 of 38




disclose to them all material facts and information in connection with its disposition of

the donations.

       98.    Further, Ensign aided and abetted in the breach of COP’s fiduciary duty to

Plaintiffs and the Class by, among other things, concealing the use and disposition of

funds it received, establishing shell companies and the use of other deceptions to

conceal the full extent of the funds it held, and putting funds to uses other than those for

which they were solicited.

       99.    Under the circumstances described in detail above, COP and Ensign

breached their fiduciary duties to Plaintiffs and the members of the Class by, among

other things, misusing the donations, failing to use the donations as represented, failing

to fully disclose to the Class all material facts and information in connection with their

disposition of donated monies, and by continuing to misrepresent their use of donated

funds and criminal activity after their scheme was partially disclosed to the public.

       100.   As a direct and proximate result of Defendants’ breach of their fiduciary

duties, Plaintiff and members of the Class donated money to COP under the

reasonable, but mistaken, belief that the funds would be used in the ways that COP

represented that they would when it solicited donations.

       101.   However, some portion of those donated funds was actually diverted to

Ensign, with no intention of ever being used for the solicited purpose at all, let alone

“immediately.”




                                             32
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.33 Page 33 of 38




       102.    As a result of the above, Plaintiffs and Class members suffered damages

of an amount to be proven at trial, and are entitled to seek such other relief as may be

ordered by the Court.

                             SECOND CAUSE OF ACTION
                           Fraud and Fraudulent Inducement

       103.    Plaintiffs reallege and incorporate by reference all paragraphs as though

fully set forth herein.

       104.    In the course of soliciting donations from Plaintiffs and the Class,

Defendant COP made false representations regarding contemporaneously existing

material facts and made promises of future performance with no contemporaneous

intent to perform, including that:

               a.     tithed funds would be directed towards charitable purposes,

               b.     funds donated to specific church organizations would be directed to
                      those organizations and used exclusively for those purposes,

               c.     the “vast majority” of donated funds would be used for charitable
                      purposes, and

               d.     COP followed all applicable laws regarding its use of donated
                      funds.

       105.    These statements and promises were false and or made with no

contemporaneous intent to perform.

       106.    Alongside these statements and promises, COP actively sought to

conceal the disposition of donations in concert with Ensign, including concealment of

the amount and status of funds held by Ensign.




                                             33
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.34 Page 34 of 38




       107.    Defendant COP knew that these statements were false, or recklessly

made them without regard for their truth despite substantial evidence to the contrary

and furthered its deception by a course of concealment of the disposition of the

donations.

       108.    Defendant COP made these statements and undertook its concealment

for the purpose of inducing Plaintiffs and Class members to donate money to COP.

       109.    Defendant Ensign contributed to COP’s fraud by accepting donated funds,

directing those funds towards noncharitable activities without ever disbursing them

towards charitable activities, and concealing the extent of the COP’s holdings.

       110.    Plaintiffs and Class members reasonably relied on these statements,

which they believed to be true, and were unaware of the true disposition of the funds.

       111.    As a result of their reasonable reliance, Plaintiffs and Class members

were induced to donate money to COP.

       112.    Had Plaintiffs and Class members known how COP actually used donated

funds, they would have either not donated funds, or donated lesser amounts.

       113.    As a result of the above, Plaintiffs and Class members suffered damages

of an amount to be proven at trial, and are entitled to seek such other relief as may be

ordered by the Court.

                               THIRD CAUSE OF ACTION
                                Fraudulent Concealment

       114.    Plaintiffs reallege and incorporate by reference all paragraphs as though

fully set forth herein.



                                            34
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.35 Page 35 of 38




      115.   COP intended to provide and was in the practice of providing funds it

solicited from Plaintiffs and other Class members to Ensign for the purposes of holding

such funds and such other uses as alleged above. Defendants knew about this and

other similar material information and had a duty to communicate this information to

Class members.

      116.   Yet, Defendants deliberately concealed from Plaintiffs and other Class

members their intention and practices about the donated funds they received.

      117.   Specifically, Defendant COP concealed the full extent of its holdings, and

also concealed that it was directing funds to Ensign, for the purpose of investing those

funds without ever disbursing them towards charitable activities.

      118.   Defendant Ensign contributed to COP’s fraud by accepting donated funds,

directing those funds towards noncharitable activities without ever disbursing them

towards charitable activities, and concealing the extent of the COP’s holdings.

      119.   Defendants had a legal duty to disclose to Plaintiffs and other Class

members the disposition of the donated funds received, including because they were in

a fiduciary relationship and/or acting in a fiduciary capacity with the Class members.

      120.   COP had a further duty to disclose to Plaintiffs and other Class members

the disposition of the donated funds it received because it made full and partial

representations that were at odds with its intention and practice with donated funds.

      121.   Had Plaintiffs and Class members known how COP actually used donated

funds, they would have either not donated funds, or donated lesser amounts.




                                            35
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.36 Page 36 of 38




        122.   As a result of the above, Plaintiffs and Class members suffered damages

of an amount to be proven at trial, and are entitled to seek such other relief as may be

ordered by the Court.

                              FOURTH CAUSE OF ACTION
                                 Unjust Enrichment

        123.   Plaintiffs reallege and incorporate by reference all paragraphs as though

fully set forth herein.

        124.   As described in detail in the factual allegations above, Defendants made

material misrepresentations and omissions to Plaintiffs and the Class in the course of

soliciting and use of donations.

        125.   Specifically, Defendant COP misrepresented the full extent of its holdings,

and also concealed that it was directing funds to Ensign, for the purpose of investing

those funds without ever disbursing them towards charitable activities.

        126.   Defendant Ensign contributed to COP’s fraud by accepting donated funds,

directing those funds towards noncharitable activities without ever disbursing them

towards charitable activities, and concealing the extent of the COP’s holdings.

        127.   Plaintiffs and the Class donated money to Defendants in reliance on those

misrepresentations and omissions.

        128.   Those donations constituted a benefit conferred on Defendants by

Plaintiffs.

        129.   Defendants understood the donations to be benefits.

        130.   Defendants accepted and retained the donated funds, despite their

knowledge that the statements made to solicit the donations were false and misleading.

                                            36
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.37 Page 37 of 38




       131.   Under these circumstances, the continued retention of the donated funds

by Defendants would be inequitable.

       132.   As a result, Defendants are liable in restitution to Plaintiffs and the

members of the Class to disgorge and remit to Plaintiff and the Class monies

contributed, in an amount to be proved at trial, and subject to the equitable relief that

may otherwise be ordered by the Court.

                                    Request for Relief

       133.   Because Defendants induced Plaintiffs and their fellow Class members to

donate money to COP by misrepresenting how donated funds are and would be spent,

they breached their duties to Plaintiffs and the Class. As described in detail above,

Plaintiffs, individually and on behalf of the members of the Class, respectfully request

that the Court enter judgment in their favor and against Defendants, as follows:

       A.     Certification of the proposed Class, including appointment of Plaintiffs’

counsel as Class Counsel;

       B.     An order temporarily and permanently enjoining Defendants from

continuing the unlawful and deceptive practices alleged in this Complaint;

       C.     Injunctive, declaratory and other equitable relief, including, but not limited

to, a declaration that Defendants’ practices are illegal and a breach of their duties to

Plaintiffs and the Class; an injunction on these illegal practices; an order requiring

regular public accounting by Defendants as to the collection, use and disposition of

collected funds and interest and income earned from these funds; and the appointment

of a Special Master or an equally authorized panel of neutrals to monitor the collection,


                                             37
Case 2:23-cv-00794-TS-DBP Document 1 Filed 10/31/23 PageID.38 Page 38 of 38




use and disposition of collected funds and income earned from these funds.

       D.     Costs, restitution, damages, and disgorgement in an amount to be

determined at trial;

       E.     An order requiring the Defendants to pay both pre- and post-judgment

interest on any amounts awarded;

       F.     An award of costs and attorneys’ fees; and

       G.     Such other or further relief as may be appropriate.


                                  Demand for Jury Trial

       Plaintiffs hereby demand a jury trial for all claims so triable.


       DATED this 31st day of October 2023

                                           MAGLEBY CATAXINOS & GREENWOOD, PC



                                           James E. Magleby
                                           Yevgen Kovalov


                                           SEEGER WEISS LLP
                                           Christopher A. Seeger (pro hac vice forthcoming)
                                           Scott A. George (pro hac vice forthcoming)
                                           Frazar W. Thomas (pro hac vice forthcoming)


                                           KITNER WOODWARD PLLC
                                           Scott A. Kitner (pro hac vice forthcoming)
                                           Martin D. Woodward (pro hac vice forthcoming)


                                            Attorneys for Plaintiffs and the Class



                                              38
